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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PATRICK KING,                           :      CIVIL NO.: 1:15-CV-00159
                                        :
             Plaintiff,                 :
                                        :      (Judge Rambo)
      v.                                :
                                        :      (Chief Magistrate Judge Schwab)
MANSFIELD UNIVERSITY OF                 :
PENNSYLVANIA,                           :
                                        :
             Defendant.                 :
                                        ORDER
                                      July 31, 2019

      IT IS ORDERED that a settlement conference is scheduled for September 25,

2019 at 10:00 a.m., in Chambers, Room 1135, Eleventh Floor, Ronald Reagan

Federal Building, Third and Walnut Streets, Harrisburg, Pennsylvania. Counsel are

advised that their clients, or client representatives, with complete authority to

negotiate and consummate a settlement shall be in attendance at the settlement

conference. The purpose of this requirement is to have in attendance a representative

who has both the authority to exercise his or her own discretion and the realistic

freedom to exercise such discretion without negative consequences, in order to settle

a case during the settlement conference, if appropriate, without consulting someone

else who is not present. Furthermore, this individual must have full authority up to

the amount of plaintiff’s demand. I expect the lawyers and the party representatives
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to be fully prepared to participate, and all the parties are encouraged to keep an open

mind in order to re-assess previous positions.

      In the event that counsel appear for the conference without their client

representatives authorized as described above, I may, in my discretion, cancel or

reschedule the settlement conference. The non-complying party, attorney, or both,

may also be assessed the costs or expenses incurred by other parties as a result of

such cancellation or rescheduling, as well as any additional sanctions deemed

appropriate by the court.

      IT IS ALSO ORDERED that on or before, August 26, 2019, plaintiff’s

counsel shall submit a written itemization of damages and a settlement demand to

defendant’s counsel with a brief explanation of why such a settlement is

appropriate. On or before, September 9, 2019, defendant’s counsel shall submit a

written offer to plaintiff’s counsel along with a brief explanation of why such a

settlement is appropriate.

      Last, I require that on or before, September 18, 2019, each party shall

submit a confidential settlement memorandum, attaching their respective demand

and offer letters, to my Chambers by email at

magistrate_judge_schwab@pamd.uscourts.gov. Neither the letters nor the

settlement memoranda should be filed on the Court’s docket.
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       In the settlement memoranda, the parties shall provide a specific recitation

of the facts, a discussion of the strengths and weaknesses of the case, the parties’

position on settlement, including a report on settlement efforts to date. If not

already part of the Court’s record, copies of any critical agreements, business

records, photographs or other documents or exhibits shall be attached to the

settlement memoranda. The memoranda, though, should not be lengthy; instead,

they should contain enough information to be useful in analyzing the factual and

legal issues in this case.



                                          s/Susan E. Schwab
                                          Susan E. Schwab
                                          United States Chief Magistrate Judge
